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                              APPENDIX EXHIBIT 11

             THOMAS J. FITTON DECLARATION AND ATTACHMENTS
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 2 of 62 PageID #: 564




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  JUDICIAL WATCH, INC.,               )
  and TRUE THE VOTE,                  )
                                      )
                    Plaintiffs,       )                 Case No. 1:12-cv-800-WTL-TAB
        v.                            )
                                      )
  J. BRADLEY KING, et al.             )
                                      )
                    Defendants.       )
  ____________________________________)

                            DECLARATION OF THOMAS J. FITTON

         Pursuant to 28 U.S.C. § 1746, I, Thomas J. Fitton, hereby declare and state as follows:

         1.      My name is Thomas J. Fitton. I am over the age of eighteen and have personal

  knowledge of the facts set forth below.

         2.      I am the President of Judicial Watch, Inc. and a member of its Board of Directors.

  I have served in these capacities since approximately August of 1998. Judicial Watch is a non-

  profit organization that seeks to promote integrity, transparency, and accountability in

  government and fidelity to the rule of law.

         3.      Judicial Watch has brought this legal action on behalf of its members. A large

  number of Judicial Watch (JW) members in Indiana wanted JW to initiate this litigation to

  protect their right to fair and accountable elections. JW’s ability to bring legal actions

  concerning election law, such as the present case, is a substantial reason why these members

  financially support JW in the first place.




                                                    1
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                        Judicial Watch’s Actions on Behalf of Its Members

         4.      JW is a membership organization pursuant to Article IV of its Articles of

  Incorporation. In addition, pursuant to Article II, Section 2.01 of JW’s Bylaws, membership in

  JW is open to any person who makes a financial contribution of a certain amount to the

  organization. Also, pursuant to Article II, Section 2.10 of the Bylaws, the views of JW members

  must be given serious consideration in decisions of the Board of Directors. Pursuant to these

  Bylaws, the views of JW’s members exercise significant influence over the decisions of JW’s

  Board of Directors.

         5.      As President of JW, I have broad responsibilities for communicating with JW’s

  members concerning our activities. JW has over five thousand members in the State of Indiana,

  each of whom has made at least one financial contribution recently and thus helped to finance the

  activities of the organization. I solicited the views of a subset of these members via email

  concerning the above-captioned litigation before JW brought this lawsuit. In response, over 70

  members who are registered to vote in Indiana communicated directly to me to request that

  Judicial Watch take action to protect their voting rights by bringing the above-captioned case. A

  copy of the correspondence I received from these members is included at Attachment 1. These

  members indicated to me that JW’s protection of their voting rights was one of the reasons why

  they support the organization. See Attach. 1. The wishes of Judicial Watch’s members were a

  substantial factor which influenced our decision to bring this lawsuit.

         6.      Furthermore, in 2012 JW conducted a general survey of its membership

  concerning the election integrity project, the results of which were published in its June 2012

  newsletter. The results of that survey are included at Attachment 2. In that survey, 96% of



                                                   2
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  Judicial Watch members indicated that bringing lawsuits to protect election integrity should be

  “a high priority as Judicial Watch budgets its resources in the upcoming months.” See Attach. 2.

         7.      JW’s Election Integrity Project expresses these collective wishes of its members.

  As a part of the Election Integrity Project, JW initiates and participates in litigation to provide a

  means for the organization’s members to advance their collective views and protect their rights.

  For this project, JW has embarked on a multi-year legal effort to ensure states and counties are

  performing their voter roll list maintenance obligations required by federal law. JW has devoted

  a substantial amount of resources to this effort. Specifically, JW funded independent research to

  determine which states and counties had voter registration rolls with more registrations than their

  total voting age populations. See Appx. Exh. 2, Indiana Voter Roll Analysis.

         8.      JW is only able to invest the resources required for the above-described effort and

  bring litigation such as the instant case through the financial support of its members. For this

  reason, the preferences of JW’s members plays a significant role in our day-to-day decision-

  making concerning which projects JW undertakes and which lawsuits the organization files.

         9.      JW’s election integrity legal efforts on behalf of its members have been extensive.

  In addition to the instant lawsuit, since 2012 JW has participated in several election integrity

  cases: JW moved to intervene in U.S. v. Florida, an NVRA case in the U.S. District Court for the

  Northern District of Florida; JW filed an amicus curiae brief in Davis v. Haslam, an NVRA and

  Help America Vote Act (HAVA) case in the U.S. District Court for the Middle District of

  Tennessee; JW filed an NVRA Section 8 lawsuit against Ohio in the U.S. District Court for the

  Southern District of Ohio; JW filed an amicus curiae brief with the Supreme Court of

  Pennsylvania in support of the Pennsylvania Voter ID law; and JW filed an amicus curiae brief



                                                    3
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  with the U.S. Supreme Court supporting Arizona’s use of citizenship verification for voter

  registration under the NVRA.

         10.     In the course of these efforts, Judicial Watch has developed expertise and insights

  into federal election laws governing the maintenance of accurate voter registration rolls,

  including but not limited to those provisions of the NVRA and HAVA requiring list

  maintenance. I believe that JW’s resources and expertise offer advantages in this litigation both

  to JW’s members and the Court which would not be present if JW’s Indiana registered voter

  members could bring this litigation individually. Specifically, I believe JW’s ability to bring this

  case on behalf of its members will sharpen the presentation of issues to the Court by better

  illuminating the difficult questions surrounding interpretation and application of the NVRA.

                                  Judicial Watch Members’ Injury

         11.     Judicial Watch is a conservative organization serving members that are

  particularly concerned about promoting fidelity to the rule of law. Accordingly, in cases such as

  this one where a state is failing to comply with its legal obligations under the voter list

  maintenance provisions of federal law, Judicial Watch’s members are particularly concerned

  because of the appearance of political motivation behind non-compliance with the law.

         12.     My communications with JW members has made it apparent to me that the

  presence of ineligible persons on the Indiana voter rolls tends to undermine our members’

  confidence in the integrity of the election process. Furthermore, I understand that under the

  NVRA and federal law, private citizens have the right to bring lawsuits to redress the harm they

  suffer when their confidence in the integrity of the electoral process is undermined. In this

  regard, JW is acting to represent and redress this injury to its members through this litigation.



                                                    4
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         13.     If JW’s members were to completely lose confidence that U.S. elections are being

  conducted honestly, I believe their interest in participating in American civic life, including by

  financially supporting a government watchdog group like JW, would be substantially

  diminished. Accordingly, I believe both JW and its members will be adversely affected by

  Defendants’ conduct if that conduct is not corrected.

                      Plaintiffs’ Document Request Under NVRA Has Been Denied

         14. By letter dated February 6, 2012, JW, acting on its behalf and on behalf of True the

  Vote, requested that Indiana produce documents related to its list maintenance efforts. Indiana

  failed to produce such documents, as required by the NVRA, instead issuing a blanket denial.

  See Indiana Correspondence at Attach. 3. To obtain these documents related to Indiana’s list

  maintenance efforts, JW had to commence this lawsuit and engage in months of costly litigation,

  including defending a motion to dismiss, responding to discovery, and sending Defendants

  requests for production and additional correspondence.




                                                   5
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                                 ATTACHMENT 1

                    TO DECLARATION OF THOMAS J. FITTON
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 9 of 62 PageID #: 571



  From: Toom Fitton [ma
                      ailto:info@new ws.judicialwattch.org]
  Sent: Thu
          ursday, May 03,
                        0 2012 11:2  22 AM
  To:            .
  Subject: Judicial Watcch Fighting fo
                                     or You in India
                                                   ana - Your In put Needed




     Dear Judicial Wa
                    atch Member:

     I am writing
          w       toda
                     ay to ask forr your inputt. Judicial W
                                                          Watch is coonsidering ffiling a
     lawsu
         uit against th
                      he State off Indiana forr violations of federal e
                                                                      election law
                                                                                 ws.

     If you
          u are registtered to vo
                                ote in India
                                           ana, after y
                                                      you've read d this email, please le
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     me knnow if you would sup  pport the filing
                                           f     of thiis lawsuit.

     As yo ou know, Ju udicial Watc ch depends s on the conntinued sup pport of its m
                                                                                    members to  o
     fight corruption
           c           across
                       a        the country,
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                                               omote integ grity in gove
                                                                       ernment, an  nd restore
     confiddence in the e rule of law
                                    w. Today, wew are askiing our mem   mbers who are
     registtered to vote in Indiana a to help gu
                                               uide our acttivities. Sin
                                                                       nce this issuue will affecct
     our Inndiana mem  mbers most directly, we  e need to kknow how im mportant th his issue is tto
     you. Knowing yo    our views and
                                    a understtanding you   ur interests is essentiaal to our
     ability
           y to satisfy our
                        o mission   n.

     You may
          m have heard aboutt Judicial Watch's
                                            W         20122 Election IIntegrity Pro
                                                                                  oject. Sincce
     annouuncing the project
                      p        in February
                                  F         20
                                             012, we havve been bussy notifying  g various
     state and countyy officials th
                                  hat they are
                                             e in violation
                                                          n of federal laws requiring them to
     clean up their vo
                     oter rolls. As
                                  A you are non doubt aw  ware, manyy states and  d counties
     have voter registtration rolls with more names on them than people who       o live there.

     Indian
          na is one off these states. Despite    e being sueed by the fe
                                                                       ederal gove ernment in
     2006 for failing to
                       o maintain accurate and current vvoter registtration rolls, Indiana's
     voter rolls are stiill some of the
                                     t most po   oorly mainta
                                                            ained in the
                                                                       e nation. Judicial
     Watch h sent a lettter to the sttate of India
                                                 ana informing them off their violattions, but ass
     of tod
          day Indiana has taken no discerniible actionss to correct the problem     ms. (The
     Obam ma Justice Department
                      D              t is AWOL ono this issu
                                                           ue and won n't enforce the rule of




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     law.)

     We beelieve this is
                      i a huge problem. Ina accurate vo oter registra
                                                                    ation rolls ccontain the
     namees of peoplee who have died or hav ve long sincce moved o  out of the ddistrict in
     which
         h they are reegistered. These poorly maintain  ned and ina accurate vo oter rolls can
     underrmine confiddence in the legitimac
                                           cy of electio
                                                       ons and harrm our dem   mocratic
     proce
         ess.

     First, inaccurate voter rolls make fraud   d easier. They greatlyy help anyone who
     mightt want to "sttuff" the balllot boxes with
                                                w phony vvotes come       e Novembe  er. Second,
     inaccuurate voter rolls make voter fraud   d on Electio on Day even   n harder to detect thann
     usual, as any ille egal ballots cast this way
                                               w will appear to be a     associated w with a
     legitim
           mate voter. If Indiana's s registratio
                                                on lists are not cleaned up soon, the
     American people    e may have e to wake up on Novem     mber 7 won   ndering whe ether their
     votes counted orr whether th   he election was stolen   n. And, give en the increedible
     difficu
           ulty of verify
                        ying the acccuracy of millions
                                               m         of baallots after they have aalready bee en
     cast, we
            w might not know the    e truth for years
                                                y      to comme - if everr!

     If you
          u are a regiistered Ind
                                diana voterr, we need your input now! Ple   ease CLICKK
     HERE  E if you wa
                     ant us to brring a lawssuit agains
                                                      st the State
                                                                 e of Indiana
                                                                            a to compeel
     Indianna to clean
                     n up its votter rolls an
                                            nd protect your rightt to
     vote. (Respond  ding to this
                                s email in no
                                            n way obligates you  u personallly in any
     litigattion.)

     Also, please feell free to let us know hoow importa nt this issue
                                                                     e is to you compared to
     the otther issues Judicial Wa atch is purs
                                              suing for yo
                                                         ou. If you d
                                                                    don't want uus to sue the
     state of Indiana, you need notn take any action.

     Thank
         k you for yo
                    our support.




     Tom Fitton
          F
     Presid
          dent


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     Revenu
          ue code. Judicial Watch is ded
                                       dicated to fightting governmen
                                                                    nt and judicial ccorruption and promoting a
     return to
             o ethics and morality
                          m        in our nation's public liife.




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                  As an Indiana citizen and a Judicial Watch member, I want Judicial Watch to file a lawsuit                               Twitter                LinkedIn
                  against the State of Indiana to compel the state to clean up its voter rolls and protect my
                  right to vote. Having Judicial Watch look after my voting rights interests is one of the
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                  reasons why I support Judicial Watch.
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                      ✔
                          Yes
                                I am registered to vote in Indiana.


                                                                      Submit

                  (By submitting your response you are in no way obligated to be involved personally in any
                                                          litigation)




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                                                                                                          by Tom Fitton


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                                 ATTACHMENT 2

                     TO DECLARATION OF THOMAS J. FITTON
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                                     PL-000020
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                                 ATTACHMENT 3

                     TO DECLARATION OF THOMAS J. FITTON
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 19 of 62 PageID #: 581
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                              APPENDIX EXHIBIT 12

         CATHERINE ENGELBRECHT DECLARATION AND ATTACHMENTS
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 26 of 62 PageID #: 588




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   JUDICIAL WATCH, INC.,               )
   and TRUE THE VOTE,                  )
                                       )
                     Plaintiffs,       )                  Case No. 1:12-cv-800-WTL-TAB
         v.                            )
                                       )
   J. BRADLEY KING, et al.             )
                                       )
                     Defendants.       )
   ____________________________________)

                       DECLARATION OF CATHERINE ENGELBRECHT

          Pursuant to 28 U.S.C. § 1746, I, Catherine Engelbrecht, hereby state and declare as

   follows:

          1.      My name is Catherine Engelbrecht. I am over the age of eighteen and have

   personal knowledge of the facts set forth below.

          2.      I am the President of True the Vote. True the Vote is a public interest

   organization whose purpose is to ensure that elections are conducted in accordance with the laws

   so that Americans have confidence in the integrity of our nation’s election results.

          3.      In Indiana, the Defendants’ acts and omissions have caused injury to True the

   Vote (TTV) in two separate ways. First, the Defendants’ conduct has made it much more

   difficult for TTV to fulfill one of its essential purposes of ensuring voter registration rolls are

   highly accurate. Second, the Defendants’ conduct has made it necessary for TTV to divert

   resources it could have spent on other election integrity measures, forcing and to spend those

   resources instead on increased voter list maintenance efforts in Indiana. Defendants’ conduct has

   made it more difficult for TTV to improve the voter rolls in Indiana. Since Defendants have


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   failed to put forth the list maintenance effort required by law, TTV’s ability to build on Indiana’s

   efforts has been hampered.

                             True the Vote’s Voter List Verification Project

           4.      In order to satisfy its public interest mission, TTV obtains and examines official

   lists of eligible voters and other voter registration data from states, counties, and localities across

   the United States, including the State of Indiana. TTV reviews and analyzes these lists and

   compares them to other voter registration data in order to verify that the lists are as accurate and

   current as possible. TTV strives to make voter rolls as close to 100% accurate as possible. TTV

   engages in year round work towards this end because having highly accurate voter rolls is one of

   the simplest ways to promote voter confidence on Election Day and to make any illegal conduct

   easier to detect if it occurs.

           5.      TTV conducts such reviews both in-house and by using trained volunteers.

   Reviewing official lists of eligible voters and voter registration data and comparing these lists

   and data to other publicly available data enables TTV to identify possible inaccuracies and

   deficiencies. Registrations that appear to be duplicates or registrations of persons who are

   deceased, have relocated, or otherwise are ineligible to vote in a particular jurisdiction are

   flagged and citizen’s complaints are filed with the appropriate elections officials or flagged for

   future action. TTV conducted an initial review of Indiana’s voter rolls. Without having access

   to all the private databases and vast resources of the State of Indiana, TTV was nevertheless able

   to positively identify at least 50,000 deceased, duplicate, incomplete, or otherwise invalid

   registrations listed as “active” on Indiana’s voter registration rolls. TTV provided this

   information to Indiana through counsel, a copy of which is attached hereto. See Attach. 1.



                                                      2
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           6.      This voter list verification program is among the largest, if not the largest, of all

   of TTV’s various programs, and it is essential to TTV’s public interest mission. TTV has built

   in-house expertise, and has recruited and trained volunteers to analyze and verify the accuracy

   and currency of official lists of eligible voters and other voter registration data for the State of

   Indiana for the November 2014 election and plans to recruit and train additional volunteers in

   Indiana for this effort.

           7.      However, TTV’s citizens-sponsored, volunteer program can only build on and

   supplement the list maintenance programs required of the States by federal voter registration

   laws. It cannot duplicate or replace the States’ efforts. TTV’s efforts to analyze and verify the

   accuracy and currency of official lists of eligible voters and other voter registration data,

   including official lists and other voter registration data in the State of Indiana, are dependent in

   substantial part on States’ fulfilling their voter list maintenance obligations under federal voter

   registration laws. If a State does not or cannot make a reasonable effort to conduct the voter list

   maintenance programs required by federal voter registration laws, then TTV’s ability to

   meaningfully improve the accuracy and currency the State’s voter lists is harmed. Instead, TTV

   can only hope to make up for a small part of the State’s failure to fulfill its legal obligations.

           8.      As I understand it, the National Voter Registration Act (NVRA) gives TTV a

   right to ensure Section 8’s list maintenance obligations are being followed by the states.

   Specifically, I understand that the NVRA requires states to make public all information

   concerning their voter list maintenance activities, and allows any person who is aggrieved by

   violations of the NVRA to bring lawsuits seeking enforcement in federal court.




                                                      3
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           9.      If Defendants’ longstanding NVRA violations are not corrected going forward

   with the regular, effective, and ongoing execution of a reasonable list maintenance program, it

   will frustrate and impair TTV’s citizen-sponsored, volunteer efforts to improve the accuracy and

   currency of the State of Indiana’s voter lists. Specifically, TTV will be impaired and prevented

   from fulfilling its mission to make the voter lists as accurate and current as possible, and instead

   will only be able to make up for a small part of the Defendants’ failure to fulfill their legal

   obligations. As a result, Defendants’ conduct will have undermined TTV’s ability to satisfy one

   of its key organizational purposes in the State of Indiana.

                           True the Vote’s Other Election Integrity Projects

           10.     In addition to the above-described voter list verification project, TTV is engaged

   in several other projects designed to ensure elections are conducted with integrity. For instance,

   TTV trains and mobilizes volunteers to work as election monitors, and directs those volunteers to

   the appropriate channels. In addition, TTV creates instructional videos to recruit election

   monitors, holds training sessions, and produces reference guides to educate election monitors

   across the country. TTV produced a reference guide for Indiana election monitors which

   addresses Indiana’s election laws and regulations, an excerpt of which is attached hereto. See

   Attach. 2.

           11.     Defendants’ actions make it necessary for TTV to divert resources it could be

   spending on the election integrity efforts described in the above paragraph and instead redouble

   its efforts to ensure Indiana’s voter rolls are clean.




                                                      4
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                      Plaintiffs’ Document Request Under NVRA Has Been Denied

          12. By letter dated February 6, 2012, Judicial Watch, acting on its behalf and on behalf

   of TTV, requested that Indiana produce documents related to its list maintenance efforts. Indiana

   failed to produce such documents, as required by the NVRA, instead issuing a blanket denial.

   To obtain these documents related to Indiana’s list maintenance efforts, TTV had to commence

   this lawsuit and engage in months of costly litigation, including defending a motion to dismiss,

   responding to discovery, and sending Defendants requests for production and additional

   correspondence.




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                                 ATTACHMENT 1

                TO DECLARATION OF CATHERINE ENGELBRECHT
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   Indiana Voter Roll Accuracy Snapshot
   April 2013




                                     PL-000093
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 34 of 62 PageID #: 596




   This report was prepared to demonstrate potential maintenance failures in Indiana’s voter rolls,
   with particular emphasis on datasets pertaining to Section 8 of the National Voter Registration
   Act.




                                             PL-000094
Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 35 of 62 PageID #: 597




   Overview
   This report examines cases of deceased, duplicate, incomplete and otherwise invalid, active voter
   registrations held by the State of Indiana. Each dataset demonstrates a collective failure on behalf of
   state and county officials required to remove such records according to Indiana Code (IC) compliance
   statutes with the National Voter Registration Act.



   20,524 deceased voters
   Indiana Code 3-7-26.3-11 charges county voter registration offices with the duty of removing deceased
   voters from rolls following their death. Methods for determining that a voter is deceased varies,
   including the use of database matching between the Indiana State Voter Registration System (SVRS) and
   the Social Security Administration (IC 3-7-26.3-19(2)). Following official confirmation of death, county
   administrators do not face statutory requirements to delay removal, even within 90 days before an
   election. Further, county administrators must also proactively purge deceased voters from rolls on a
   consistent basis according to IC 3-7-45-6.1.

   3,657 voter registrations with ineligible residential addresses
   Line 5 of the Indiana Voter Registration Application (State Form 50504 (R8/5-12)) requires that a citizen
   state their current residential address and explicitly clarifies that any form of a PO Box may not be used.
   When registering, potential voters must prove their residential address with a current utility bill, bank
   statement, government check, paycheck, or government document (IC 3-7-33-4.5(B)).

   6,451 Incomplete or invalid residence addresses
   Indiana Code 3-7-34 details the various processes available to county election officials for proper
   protocols in completing voter registration applications, should they return with missing information.
   Given the detailed requirements for applicants to prove residence, there exist more than 6,400 active
   registrations within the state that do not satisfy the requirements of the application, yet have been
   deemed eligible to vote.

   26,988 duplicate registrations within the state
   Though voters generally bear the duty to request a transfer of their registration after moving (IC 3-7-39-
   1), Indiana statues outline requirements for county officials to update and remove records, especially
   duplicates (IC 3-7-26.3-14(3). True the Vote found 26,988 duplicate registrations based on perfect
   matches of first name, last name and full birthdate – less voters deemed inactive according to Indiana
   records.




                                                  PL-000095
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                                 ATTACHMENT 2

                TO DECLARATION OF CATHERINE ENGELBRECHT
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         Make votes count!




                                              Inspire and equip volunteers as Election
                                              Observers!




                               –––––            – ––––
                                                                       Prevent voter fraud!
                                Poll Watcher
                                 TRAINING

Ensure election integrity!




                         Advocate free and fair elections in 2012!




                                                                                John Jones

                                        PL-000035 by TRUE the VOTE
                  A citizen initiative empowered
      Case 1:12-cv-00800-WTL-TAB Document 69-3 Filed 10/11/13 Page 38 of 62 PageID #: 600
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 Indiana                                                                                                                                    Getting Started

                                                                                                                Getting
                                                                                                                Started




                 How To Use Your eBook
                 This eBook was created just for you and your state. In it you will find the material covered in the Election Observer training
                 video, along with state specific details and election laws that are unique to your state. There’s a lot of information contained
                 in the video and on the following pages - don’t get overwhelmed. Our intent is to expose you to the full polling place
                 experience, so that you will be generally familiar with the entire process. As you will learn, TRUE the VOTE will provide
                 you with additional supporting documents and a Quick Reference Guide closer to Election Day.....but for now, what’s most
                 important is for you to watch the training video, follow along with the eBook, and take the assessment at the end of the
                 course (so that you’ll know that you know that you know your role in the poll.) After those steps are complete, you’ll be
                 contacted by your local election integrity organization-they’ll help connect you with volunteer opportunities and make sure
                 you are ready to go!

                 We’re all in this together, all serving to support the single most fundamental process of our representative republic. Thank
                 you for your commitment to election integrity!


                 Objectives
                 After completing this course, you will be able to:
                 • Understand the role of an Election Observer.
                 • Identify responsibilities of an Election Observer.
                 • Describe key events in polling place procedures.
                 • Recognize common causes of election irregularities.
                 • Perform the duties of an Election Observer.


                 Icons Used Throughout This eBook


                             Video Content                                                Sources for Additional Information



                             State Specific Information                                      Notes




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Indiana                                                                                                    Introduction • Chapter 1




                     Welcome
                     Welcome to the TRUE the VOTE Election Observer Training - thank you for stepping up to help ensure
                     the integrity of our elections! TRUE the VOTE is an initiative developed by citizens for citizens to inspire
                     and equip volunteers for involvement at every stage of our electoral process and to actively protect the
                     rights of legitimate voters regardless of party affiliation.




                     The Purpose and Role
                     The purpose of this training is to prepare you for your role as an Election Observer and to explain
                     the importance of this role. The term Election Observer is the generic title we will refer to
                     throughout this video, but the official title of this role may be different in your state. The
                     10th Amendment of our Constitution provides for elections to be overseen at the state level, this means
                     that election laws and titles can vary by state. However, most of the basic processes are the same. In
                     addition to the training video, you’ll have this state specific eBook to highlight important information
                     unique to your state.

                     Watchers are needed to observe the opening and closing of the polls as well as the election process in
                     general to assure everything is being run according to Indiana Election Laws. Watchers ensure elections
                     are kept free and fair.




                     Why Do We Need Election Observers?
                     Across the country, citizens are becoming increasingly concerned about our electoral process. When
                     election laws are not followed properly, or the laws are vague, it leaves the process open to problems
                     - including manipulation by those with partisan agendas. Without Election Observers present, these
                     issues often go undocumented and unaddressed. TRUE the VOTE isn’t concerned with which political
                     party you’re a part of, or which candidate you support - but we are very concerned about the integrity
                     of our elections.




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 Indiana                                                                                                    Introduction • Chapter 1




                        Just One Example Of Election Fraud In Indiana
                        “Prosecutors in South Bend, Ind., filed charges Monday against four St. Joseph County Democratic officials
                        and deputies as part of a multiple-felony case involving the alleged forging of Democratic presidential
                        primary petitions in the 2008 election, which put then-candidates Barack Obama and Hillary Clinton on the
                        Indiana ballot” “...a local jury on Saturday convicted Indiana Secretary of State Charlie White on six felony
                        counts, including theft and voter fraud — a crime he was supposed to prevent as the state’s top election
                        official.”

                        http://www.foxnews.com/politics/2012/04/02/4-indiana-dems-charged-with-election-
                        fraud-in-2008

                        http://www.npr.org/blogs/itsallpolitics/2012/02/06/146473653/indianas-top-election-
                        official-convicted-of-voter-fraud


                        What’s in the Video
                        This training will be presented in chapters, so that you can go back and review areas that you might have
                        questions about without having to watch the entire presentation. The Chapters are:

                        Chapter 1 - Introduction
                        Chapter 2 - Who Oversees Our Elections?
                        Chapter 3 - Preparing for Elections
                        Chapter 4 - Working the Elections
                        Chapter 5 - Opening the Poll
                        Chapter 6 - Poll Activity
                        Chapter 7 - Closing the Poll
                        Chapter 8 - Wrap-Up
                                                                                                                                         You can
                                                                                                                                         make a
                        Since this training will be available as an on-demand video, once you’ve registered for the course you          difference!
                        will be able to access the video at your convenience. TRUE the VOTE also offers live webinars for
                        Q&A sessions, conference calls, and online discussions, to help equip you with the knowledge and
                        understanding of election laws and procedures in your state.



                        Notes




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Indiana                                                                      Who Oversees Our Elections ? • Chapter 2




                     Election Officials
                     The key individuals involved in elections are the Secretary of State (SoS), local Election Administrators,
                     local Voter Registrars, and in some states, Election Boards. The SoS is the senior-most individual at the
                     state level responsible for elections. Local Election Administrators have varied titles and conduct the
                     actual election (voting) operations. Local Voter Registrars are responsible for the registering of voters
                     and maintaining the integrity of the voter rolls. Election Boards, sometimes called Accountability Boards,
                     oversee both registration and election operations.

                     The Secretary of State in Indiana is traditionally elected by the people, however, current SOS
                     Connie Lawson [R] was appointed after the previous SOS was convicted of several felony charges.
                     http://www.in.gov/sos/


                     http://www.in.gov/sos/




                     Polling Place Staff
                     State election laws generally provide for four to five types of roles at the polls, though the position titles
                     vary widely by state or county . These roles are:
                       • Poll Supervisor*
                       • Assistant Poll Supervisor*
                       • Election Clerks*
                     • Election Observers*
                     • Poll Challengers*

                     * These are the generic terms used in this training. The specific titles used by your state are
                     defined in your states election code. Staffed by members of both major parties, these roles work
                     together to ensure a fair and honest electoral process.

                     Inspector- Sets up election materials, over sees smooth run of election day; Judges-assist inspectors
                     and allow for two witness from each party on affidavits and certificates; Poll clerk/assistant poll clerk-
                     sign in voters and assist with any questions; Election sheriff-handles any suspected illegal activity and
                     may call in law enforcement if necessary; Poll book holder-handles the poll book to ensure there is no
                     double voting or voting in other names also checks list in the case of challenges; Watcher-observes the
                     election process to ensure the election is kept free and fair; Challenger-ensures all voters are registered
                     in that precinct.




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 Indiana                                                                         Who Oversees Our Elections ? • Chapter 2




                        Poll Supervisor
                        The Poll Supervisor is the primary authority in the poll. This person directs, oversees, and is responsible
                        for all election business in the poll. In some states, this individual has legal authority equivalent to that of
                        a district judge. The Poll Supervisor is usually selected by a major party and is the primary representative
                        for that party in the poll.

                        This person must be a qualified, registered voter and may not be a candidate on the ballot or an elected
                        public official. This person must attend training provided by the Election Administrator. This is a paid
                        position.

                        Inspector- Paid. Works as the precinct chair and are nominated by the chair of a political party whose
                        candidate for secretary of state received the highest vote. Inspectors must be an eligible voter, have the
                        ability to read, write, and speak English, not have any bet or wager on the result of the election, not be a
                        candidate or related to/associated with a candidate or working in the interest of a ballot issue. Inspectors
                        and all workers must receive poll worker training. Inspectors are to oversee the oath administration of
                        the other poll workers. Makes final decisions along with the two election judges.

                        Indiana Election Code
                        IC 3-6-6-8 Inspector; nomination by county chairmanSec. 8. The county chairman
                        of the major political party whose candidate for the office of secretary of state received the
                        highest vote in the county at the last election may nominate a voter for the office of inspector.
                         IC 3-6-6-7 Requirements for election officers and inspectors Sec. 7. (a) An otherwise
                        qualified person is eligible to serve as a precinct election officer unless any of the following apply: 1)
                        The person is unable to read, write, and speak the English language. (2) The person has any property
                        bet or wagered on the result of the election. (3) The person is a candidate to be voted for at the election
                        in the precinct, except as an unopposed candidate for a precinct committeeman or state convention
                        delegate.4) The person is the spouse, parent, father-in-law, mother-in-law, child, son-in-law, daughter-
                        in-law, grandparent, grandchild, brother, sister, brother-in-law, sister-in-law, uncle, aunt, nephew, or
                        niece of a candidate or declared write-in candidate to be voted for at the election in that precinct. This
                        subdivision disqualifies a person whose relationship to the candidate is the result of birth, marriage, or
                        adoption. This subdivision does not disqualify a person from serving as aprecinct election officer if the
                        candidate to whom the person is related is an unopposed candidate. For purposes of this subdivision,
                        an “unopposed candidate” includes an individual whose nomination to an office at a primary election is
                        unopposed by any other candidate within the same political party. (5) The person did not attend training
                        required by section 40 of this chapter.(b) In addition to the requirements of subsection (a), a person is
                        not eligible to serve as an inspector if the person is the chairman or treasurer of the committee of a
                        candidate whose name appears on the ballot.




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                     Assistant Poll Supervisor
                     The Assistant Poll Supervisor is the secondary authority in the poll. This person stands in for the Poll
                     Supervisor when the Poll Supervisor is absent from the poll or voting area. The Assistant Poll Supervisor
                     is typically selected by the opposing major party and, is the primary representative for the opposing major
                     party in the poll.

                     This person must be a qualified, registered voter and may not be a candidate on the ballot or an elected
                     public official . This person must attend training provided by the Election Administrator . This is a paid
                     position .

                     * These are the generic terms used in this training. The specific titles used by your state are defined in
                     your state’s election code. Staffed by members of both major parties, these roles work together to
                     ensure a fair and honest electoral process

                     Judges- Paid. There are to be two election judges, one for each major political party. Judges assist the
                     inspector in the smooth running of election day and are there to present balance in situations where voter
                     assistance is needed or challenges may be presented. Like the rest of the poll workers, judges receive
                     training administered by the county. Judges have the same qualifications as inspectors.

                     Indiana Election Code
                     IC 3-6-6-9 Election officers; nomination by county chairmen
                     Sec. 9. The county chairmen of the major political parties of a county may nominate individuals who meet
                     the requirements of section 7 or 39 of this chapter for the following precinct election offices who will
                     serve in the precinct on election day:
                                (1) Judge.
                                (2) Poll clerk.
                                (3) Assistant poll clerk.
                                (4) Election sheriff.




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                        Election Workers
                        Election Workers are those individuals who, under the direction of the Poll Supervisor and Assistant Poll
                        Supervisor, conduct the actual set up of the polls, the operation of the voting process, and the closing
                        of the polls. These individuals may be selected by the major parties or by the Poll Supervisor and/or
                        Assistant Poll Supervisor. Election Workers most often rotate between different tasks in conducting the
                        election operations at the polls.

                        The title of the Election Worker is defined in the state election code . This person is a qualified, registered
                        voter . An Election Worker may not be a candidate on the ballot or an elected public official . This position
                        holder must attend training provided by the Election Administrator . This is a paid position .
                        Poll Clerks and Assistant Poll Clerks- Assist in the running of the polling place; signing voters in,
                        answering questions, etc. Clerks must attend the same training as other poll workers, which is available
                        online. Clerks are paid. Clerks are appointed by their county election board and may be nominated
                        by the chairman of one of the major political parties. Except for the case of the case of youth serving
                        mentioned below, election workers must be voters of the county.

                        Indiana Election Code
                        IC 3-6-6-2 Poll clerks; appointment Sec. 2. (a) Except as provided in section 38 of this chapter, each
                        county election board shall appoint two (2) poll clerks for each precinct in the county. (b) Each county
                        chairman of a major political party of the county is entitled to nominate one (1) poll clerk under section
                        9 of this chapter.(c) Except as provided in section 39 of this chapter, the poll clerks must be voters of
                        the county. d) The county election board may permit a person who is not a voter to be an assistant poll
                        clerk if the person is: (1) at least sixteen (16) years of age, but not more than seventeen (17) years of
                        age; and 2) a resident of the county. As added by P.L.5-1986, SEC.2. Amended by P.L.3-1987,
                        SEC.28; P.L.4-1991, SEC.15; P.L.176-1999, SEC.12 Sec. 40. (a) The county election board shall
                        conduct a training and educational meeting for precinct election officers. (b) The board shall require
                        inspectors to attend the meeting and may require other precinct election officers to attend the meeting.
                        The board shall maintain a record of the attendance of each individual at the meeting conducted under
                        this subsection. (c) The meeting required under this section must include information: (1) relating to
                        making polling places and voting systems accessible to elderly voters and voters with a disability; and 2)
                        relating to the voting systems used in the county. The meeting may include other information relating to
                        the duties of precinct election officers as determined by the county election board. (1) is appointed as a
                        precinct election officer after the training and educational meeting conducted under this section; or the
                        county election board may authorize the individual to serve as a precinct election officer if the county
                        election board determines that there is insufficient time to conduct the training required by this section.




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                     Election Observer
                     An Election Observer is typically appointed by a stakeholder on the current ballot. This stakeholder can
                     be a political party with a candidate on the ballot, a candidate or group of candidates on the ballot, or a
                     political group supporting or opposing a proposition, issue or amendment on the ballot. In some states, an
                     Election Observer can be self-appointed and unaffiliated with any other entity. These individuals generally
                     watch the election activities to insure all activities are conducted in accordance with the law. Where
                     violations of, or exceptions to, the election laws are observed, these individuals alert election officials
                     where allowed and document the observations in order to provide a written record of all violations and
                     exceptions. The specific title for Election Observer in your state is defined in your state’s election code.
                     An Election Observer generally must be a qualified, registered voter. An Election Observer must not be
                     an employee, or employer of, or related to, any of the paid Election Workers. This is a volunteer position.
                     While a party or candidate may provide training, it is generally not a requirement to attend.

                    Watcher- Must be a registered voter of the county, obtain and present ID card signed by the chairman of
                    their county election board, county party chair, or chair of the committee of an independent candidate.
                    Watchers are not paid. Watchers may challenge voters as well as report an violations committed by any
                    election workers.

                    Indiana Election Code
                    IC 3-6-8-2. Eligibility of watchers Sec. 2.5. A watcher appointed under this chapter must be a
                    registered voter of the county. As added by P.L.3-1997, SEC.47.IC 3-6-8-3Identification card Sec. 3.
                    (a) A watcher present at the polls must possess an identification card issued under this section and
                    present the card if demanded by a member of the precinct election board. (b) The county election board,
                    county chairman, or chairman of the committee of the independent candidate for a federal or a state
                    office: (1) must appoint each watcher in writing; and (2) shall issue one (1) watcher identification card
                    for each person appointed as a watcher. (c) The identification card must be signed by the chairman of the
                    county election board, county chairman of the party, or chairman of the committee of the independent
                    candidate for a federal or a state office that the watcher represents. (d) The identification card described
                    in subsection (a) must clearly state the following:(1) The status of the individual as an appointed watcher.
                    2) The name of the individual serving as a watcher.(3) The name of the person who appointed the
                    individual as a watcher. 4) If the individual has been appointed as a watcher by a political party, the name
                    of the political party. As added by P.L.5-1986, SEC.2. Amended by P.L.5-1989, SEC.13; P.L.7-1990,
                    SEC.4; P.L.3-1993, SEC.25; P.L.3-1995, SEC.21; P.L.230-2005, SEC.20. IC 3-6-8-4 Powers and
                    duties Sec. 4. A watcher appointed under this chapter is entitled to: (1) enter the polls at least thirty (30)
                    minutes before the opening of the polls and remain there throughout election day until all tabulations
                    have been completed; (2) inspect the paper ballot boxes, ballot card voting system, or electronic voting
                    system before votes have been cast; (3) inspect the work being done by any precinct election officer; (4)
                    enter, leave, and reenter the polls at any time on election day; 5) witness the calling and recording of the
                    votes and any other proceedings of the precinct election officers in the performance of official duties;
                    (6) receive a summary of the vote prepared under IC 3-12-2-15, IC 3-12-3-2, IC 3-12-3-11, or IC
                    3-12-3.5-3, signed by the precinct election board, providing: the names of all candidates of the political
                    party whose primary election is being observed by the watcher and the number of votes cast for each
                    candidate; (B) the names of all candidates at a general, (A) municipal, or special election and the number
                    of votes cast for each candidate; or (C) the vote cast for or against a public question; (7) accompany
                    the inspector and judge in delivering the tabulation and election returns to the county election board by
                    the most direct route; (8) be present when the inspector takes a receipt for the tabulation and election
                    returns delivered to the county election board; and(9) call upon the election sheriffs to make arrests.




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                        Poll Challengers
                        Depending on specific state election law, the Poll Challenger role may or may not exist. These individuals
                        are typically appointed by candidates who are on the ballot, or organizations that support or oppose
                        propositions included on the current ballot. They usually oversee the voter qualification and check-
                        in process, providing an independent verification to ensure voting requirements are being met.

                        Challenger/Pollbook Holder- Unpaid, unless by the party nominating them. May enter the polls 30
                        minutes before opening and come and go freely. Must be a resident of the county. Are appointed by
                        a political party or candidate who must issue them some sort of credentials if they are approved. There
                        may be challenges at the polling place, in most cases a provisional ballot is used.




                        Other Service Venues
                        Venues for Election Workers and Election Observers vary widely by state and local practices. The typical
                        venues where Election Workers and Election Observers serve are: election polling locations where citizens
                        vote in person, central count locations where ballots are collected and/or counted, voter registration
                        locations where voters are registered, and central count locations for absentee/mail-in ballot review.




                        Early Voting Procedures
                        In many states there are two in-person election periods - Early Voting and General Election. Early Voting
                        is a period of time ranging from several days to several weeks before the General Election. Early Voting
                        offers voters additional time during which they can cast their vote. The polling place set-up is typically
                        the same for Early Voting, with the same staffing requirements and the same procedures followed at the
                        polls during the General Election. The key difference is that Early Voting poll locations are usually very
                        limited in number by comparison to the number of polls open during General Election.

                        Early voting takes place in person at the clerk’s office on an absentee ballot and begins 29 days before
                        the election.

                        Indiana Election Code
                        IC 3-11-10-26. Voting before absentee voter board; time and place for voting; absentee uniformed
                        services voters; proof of identification; assistance to voter Sec. 26. (a) This subsection applies to all
                        counties, except for a county to which IC 3-6-5.2 applies. As an alternative to voting by mail, a voter
                        is entitled to cast an absentee ballot before an absentee voter board at any of the following: (1) One (1)
                        location of the office of the circuit court clerk designated by the circuit court clerk. 2) A satellite office
                        established under section 26.3 of this chapter. b) This subsection applies to a county to which IC 3-6-
                        5.2 applies. As an alternative to voting by mail, a voter is entitled to cast an absentee ballot before an
                        absentee voter board at any of the following: (1) The office of the board of elections and registration.
                        (2) A satellite office established under section 26.3 of this chapter. (c) Except for a location designated
                        under subsection (a)(1), a location of the office of the circuit court clerk must be established as a satellite
                        office under section 26.3 of this chapter in order to be used as a location at which a voter is entitled to
                        cast an absentee




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                     Early Voting Procedures (continued)
                     ballot before an absentee voter board under this section. (d) The voter must:(1) sign an application on
                     the form prescribed by the commission under IC 3-11-4-5.1; and (2) provide proof of identification;
                     before being permitted to vote. The application must be received by the circuit court clerk not later than
                     the time prescribed by IC 3-11-4-3. (e) The voter may vote before the board not more than twenty-
                     nine (29) days nor later than noon on the day before election day.(f) An absent uniformed services
                     voter who is eligible to vote by absentee ballot in the circuit court clerk’s office under IC 3-7-36-14
                     may vote before the board not earlier than twenty-nine (29) days before the election and not later
                     than noon on election day. If a voter described by this subsection wishes to cast an absentee ballot
                     during the period beginning at noon on the day before election day and ending at noon on election
                     day, the county election board or absentee voter board may receive and process the ballot at a location
                     designated by resolution of the county election board.(g) The absentee voter board in the office of the
                     circuit court clerk must permit voters to cast absentee ballots under this section for at least seven (7)
                     hours on each of the two (2) Saturdays preceding election day.(h) Notwithstanding subsection (g), in a
                     county with a population of less than twenty thousand (20,000), the absentee voter board in the office
                     of the circuit court clerk, with the approval of the county election board, may reduce the number of
                     hours available to cast absentee ballots under this section to a minimum of four (4) hours on each of
                     the two (2) Saturdays preceding election day.(i) As provided by 42 U.S.C. 15481, a voter casting an
                     absentee ballot under this section must be:(1) permitted to verify in a private and independent manner
                     the votes selected by the voter before the ballot is cast and counted;(2) provided with the opportunity
                     to change the ballot or correct any error in a private and independent manner before the ballot is cast
                     and counted, including the opportunity to receive a replacement ballot if the voter is otherwise unable
                     to change or correct the ballot; and(3) notified before the ballot is cast regarding the effect of casting
                     multiple votes for the office and provided an opportunity to correct the ballot before the ballot is cast
                     and counted.(j) As provided by 42 U.S.C. 15481, when an absentee ballot is provided under this
                     section, the board must also provide the voter with: (1) information concerning the effect of casting
                     multiple votes for an office; and (2) instructions on how to correct the ballot before the ballot is cast
                     and counted, including the issuance of replacement ballots. (k) If: (1) the voter is unable or declines
                     to present the proof of identification; or (2) a member of the board determines that the proof of
                     identification provided by the voter does not qualify as proof of identification under IC 3-5-2-40.5; the
                     voter shall be permitted to cast an absentee ballot and the voter’s absentee ballot shall be treated as a
                     provisional ballot.(l) A voter casting an absentee ballot under this section is entitled to cast the voter’s
                     ballot in accordance with IC 3-11-9.




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                       Poll Assignment
                       The procedures for appointing an Election Observer are generally set out in state election law. These
                       laws will specify who can appoint an Election Observer, as well the requirements that must be met
                       and standards that must be followed. An Election Observer is typically appointed by a stakeholder on
                       the current ballot. This stakeholder can be a political party with a candidate on the ballot, a candidate
                       or group of candidates on the ballot, or a political group supporting or opposing a proposition, issue or
                       amendment on the ballot. Every Election Observer should be given a Certificate of Appointment by the
                       stakeholder. This certificate is typically presented to the Poll Supervisor and is the manner in which
                       an Election Observer gains access to serve in the poll location. In planning to serve as an Election
                       Observer, it is critical to understand this process. TRUE the VOTE does not appoint Election Observers,
                       we help connect stakeholders with trained TRUE the VOTE volunteers.

                       Aside from presenting credentials form their nominating party, candidate, or media outlet, watchers
                       must also take an oath administered by the judge or inspector before polls open.

                       Indiana Election Code
                       IC 3-6-6-18 Inspector or judge; requirement of oathSec. 18. A person appointed to a precinct
                       election office by a precinct election board or by a county election board may not assume the duties of
                       inspector or judge until that person has taken the oath required by section 19 of this chapter. As added
                       by P.L.5-1986, SEC.2.IC 3-6-6-19 Taking and administering oath Sec. 19. Before the polls are
                       opened in a precinct, the inspector shall: (1) take an oath to faithfully discharge the inspector’s duties;
                       and (2) administer an oath to the judges, poll clerks, assistant poll clerks, and election sheriffs that they
                       will faithfully discharge their duties. As added by P.L.5-1986, SEC.2. IC 3-6-6-23 Form of oath for
                       precinct election officersSec. 23. The oath prescribed for a precinct election officer must be signed
                       before a person authorized to administer oaths and contain the following information: I do solemnly
                       swear (or affirm) the following: (1) I will support the Constitution of the United States and the Constitution
                       of the State of Indiana. (2) I will faithfully and impartially discharge the duties of inspector (or judge, poll
                       clerk, assistant poll clerk, or sheriff) of this precinct under the law (3) I will not knowingly permit any
                       person to vote who is not qualified and will not knowingly refuse the vote of any qualified voter or cause
                       any delay to any person offering to vote other than is necessary to procure satisfactory information of
                       the qualification of that person as a voter. (4) I am now a bona fide resident of the county in which the
                       precinct in which I am to act as a member of the election board is situated and, if required by law, am
                       a qualified voter of that county. (5) I will not disclose or communicate to any person how any voter has
                       voted at this election or how any ballot has been folded or marked. (6) I am able to read, write, and speak
                       the English language.(7) I have no property bet or wagered on the result of this election.(8) I am not a
                       candidate to be voted for at this election in this precinct, except as an unopposed candidate for a political
                       party office. (9) If I am serving as an inspector, I am not the chairman or treasurer of the committee of a
                       candidate whose name appears on the ballot. (10) I am not related to any person to be voted for at this
                       election in this precinct as the spouse, parent, father-in-law, mother-in-law, child, son-in-law, daughter-
                       in-law, grandparent, grandchild, brother, sister, brother-in-law, sister-in-law, uncle, aunt, nephew, or
                       niece of that person, unless that person is an unopposed candidate. (11) I was trained as required by
                       IC 3-6-6-40. As added by P.L.5-1986, SEC.2. Amended by P.L.3-1987, SEC.32; P.L.5-1989, SEC.9;
                       P.L.3-1993, SEC.20; P.L.3-1995, SEC.15; P.L.11-1997, SEC.2; P.L.3-1997, SEC.43; P.L.126-2002,
                       SEC.20; P.L.14-2004, SEC.11.




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                    Training Requirements
                    Training is usually required for Election Workers. Poll Supervisors and Assistant Poll Supervisors are
                    typically trained in state election law, local poll procedures, and in the operation of voting equipment.
                    Election Clerks are usually trained in local poll procedures, in the operation of voting equipment, and
                    possibly in election law. The training for Election Workers is generally conducted by the staff of the
                    Election Administrator.

                    Training for Election Observers is typically not required. Secretary of State offices may or may not
                    provide self-taught training materials. Election Observers may or may not receive training from those
                    who appoint them to serve.

                    TRUE the VOTE conducts this training course for all Election Observers associated with TRUE the
                    VOTE. It is important for Election Observers to fully understand the election law, local poll procedures,
                    and the operation of voting equipment, in order to identify any deviations observed during their service
                    at the poll.

                    Watchers are not require to take training, unless otherwise specified by their county election board.

                    Indiana Election Code
                    IC 3-6-6-40 Training precinct election officers; content of training; training waiver Sec. 40.
                    (a) The county election board shall conduct a training and educational meeting for precinct election
                    officers. (b) The board shall require inspectors to attend the meeting and may require other precinct
                    election officers to attend the meeting. The board shall maintain a record of the attendance of each
                    individual at the meeting conducted under this subsection. (c) The meeting required under this section
                    must include information:(1) relating to making polling places and voting systems accessible to elderly
                    voters and voters with a disability; and (2) relating to the voting systems used in the county The meeting
                    may include other information relating to the duties of precinct election officers as determined by the
                    county election board.(d) The meeting required by this section must be held not later than the day
                    before election day. (e) If an individual: (1) is appointed as a precinct election officer after the training
                    and educational meeting conducted under this section; or(2) demonstrates to the county election board
                    that the individual was unable to attend the meeting due to good cause;Tthe county election board may
                    authorize the individual to serve as a precinct election officer if the county election board determines
                    that there is insufficient time to conduct the training required by this section. As added by P.L.116-2003,
                    SEC.1. Amended by P.L.66-2003, SEC.4; P.L.14-2004, SEC.13; P.L.230-2005, SEC.16; P.L.99-2007,
                    SEC.5.




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                       Final Briefing and Deployment
                       TRUE the VOTE highly encourages you to attend one of our Final Briefings leading up to the election.
                       Together with your local affiliated organization, we will review essential points, provide any last minute
                       updates, and, most importantly, provide you with your Final Briefing information packet. Included in this
                       packet will be your Certificate of Appointment, which will specify your polling location, hotline contact
                       telephone numbers (including the names of your TRUE the VOTE Team Captain and other TRUE the
                       VOTE-trained individuals serving with you), your Quick Reference Guide, Incident Reports, and other
                       important and helpful handouts.

                       FINAL STEPS: 1) Attend Final Briefing, 2) Pick up materials packet, 3) Note polling place assignment, 4)
                       Contact your team, 5) Drive by poll location prior to Election Day to learn route, 6) Get plenty of rest the
                       day prior to working.


                        Election Observer Checklist
                        1) Vote early or absentee
                        2) Don’t bring any electronic or recording device, except your cell phone
                        3) Don’t bring any political material
                        4) Don’t wear anything that refers to a political party, candidate, or issue
                        5) Bring your Final Briefing packet
                        6) Bring your Certificate of Appointment *
                        7) Bring a map or directions to the poll location*
                        8) Bring Team Captain / Hotline telephone numbers*
                        9) Bring Election Observer’s Quick Reference Guide*
                        10) Take a photo ID to confirm your identity
                        11) Dress comfortably; business casual. Wear comfortable shoes
                        12) Bring food, snacks, water, medicines for 15 hours
                        13) Bring a clipboard, notepad, pens
                        14) Bring a watch
                        15) Bring a cell phone and charger
                        16) Know where to park at the polling place

                        * All these items will be included in your Final Briefing packet



                        Commitment
                        Be committed to your assignment. You are part of a TRUE the VOTE trained team in the polls, so please
                        be prepared for your service and plan to serve the entire day if possible. If for some reason you find
                        you cannot serve, notify your Team Captain immediately so a replacement can be found to keep the
                        TRUE the VOTE team intact.
                       The role of a Poll Watcher is extremely important, as you are documenting the activities in the poll and
                       ensuring that all election laws and procedures are being followed. Please do not accept this position
                       unless you are fully committed to performing these duties. Please make sure your have cleared your
                       schedule and made arrangements for child care, appointments or other things that could impact your
                       commitment to serve at the polls. Remember, others are counting on you - advise your Team Captain as
                       soon as possible if an emergency arises, causing you not to be able to fulfill your commitment.



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                     Setting Up the Poll
                     The equipment and materials used in the poll are typically delivered by the Election Administrator’s staff
                     or by the Poll Supervisor. All ballots and election machines should be sealed/locked when they arrive at
                     the polling location. The Poll Supervisor will usually notify the Election Workers to arrive at the poll location
                     the day before voting begins to set up the poll. In some states, the Election Observer is also notified and
                     attends the poll set up. The seals on the equipment and ballot materials should only be broken in the
                     presence of both the Poll Supervisor and the Assistant Poll Supervisor. If the Election Observer does not
                     witness this, confirm with the Poll Supervisor and assistant Poll Supervisor that they were both present. If
                     they were not both present, document this fact and notify your Team Captain.

                     Materials are delivered by the county election board. The inspector is to pick up any undelivered materials
                     and ballots from the office of the county election board 2-3 days before election day. Voting booths are
                     to be set up so that voting is as private as possible. Watchers, challengers, and pollbook holders may be
                     present for the opening of polls to assure setting up is up to code. The inspector must also set up a 50
                     foot long chute, which is an area set off for a line.
                     Indiana Election Code
                     IC 3-11-3-10 Receipt of ballots and other supplies by inspector or member of precinct election board.
                     Sec. 10. The inspector of each precinct, or another member of the precinct election board authorized in
                     writing by the inspector, shall appear at the office of the county election board of the inspector’s county on
                     the second or third day before election day to receive ballots and other supplies. IC 3-11-3-11 Delivery of
                     ballots and ballot supplies Sec. 11. The county election board shall deliver the following to each inspector
                     or the inspector’s representative: (1) The supplies provided for the inspector’s precinct by the election
                     division. (2) The local sample ballots, the ballot labels, if any, and all poll lists, registration lists, and other
                     supplies considered necessary to conduct the election in the inspector’s precinct. (3) The local ballots
                     printed under the direction of the county election board as follows: (A) In those precincts where ballot
                     card voting systems are to be used, the number of ballots at least equal to one hundred percent (100%)
                     of the number of voters in the inspector’s precinct, according to the poll list. (B) In those precincts where
                     electronic voting systems are to be used, the number of ballots that will be required to be printed and
                     furnished to the precincts for emergency purposes only. (C) Provisional ballots in the number considered
                     necessary by the county election board. (4) Twenty (20) ink pens suitable for printing the names of write-in
                     candidates on the ballot or ballot envelope. (5) Copies of the voter’s bill of rights for posting as required
                     by 42 U.S.C. 15482. (6) Copies of the instructions for a provisional voter required by 42 U.S.C. 15482.
                     The county election board shall provide at least the number of copies of the instructions as the number
                     of provisional ballots provided under subdivision (3). C 3-11-11-1.8 Time of delivery to polls of ballots
                     and equipmentSec. 1.8. Each county election board shall have the ballots and all necessary furniture
                     and appliances that go with the ballots at the polls delivered to the appropriate precinct not later than
                     6 p.m. of the day before election day. The county executive shall provide transportation for the material
                     if requested to do so by the county election board. IC 3-11-11-2 Voting preparations; ballot boxSec. 2.
                     (a) On the morning of election day, the precinct election officers shall meet at the polls at least one (1)
                     hour before the time for opening the polls. The inspector then shall have: (1) the boundaries of the chute
                     designated; (2) the sample ballots and instruction cards posted; and (3) everything put in readiness for
                     the commencement of voting at the opening of the polls. (b) At the opening of the polls, the inspector and
                     judges shall see that there are no ballots in the ballot box before the voting begins. After the inspection
                     of the box, the inspector shall: (1) securely lock the box; (2) give one (1) key to the judge of the opposite
                     political party; and 3) retain one (1) key. c) Once securely locked, the ballot box may not be opened again
                     until after the polls have been closed and the precinct election board is ready to immediately proceed with
                     the counting, except as otherwise provided for central counting d) The voting booths or compartments
                     must be of a size and design to permit a voter to mark ballots in secret.



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                         Types of Ballots and Equipment
                         The types of ballots, and the extent to which electronic voting machines are used, differ from state
                         to state and sometimes county to county. Be familiar with what is used in your location, including the
                         specific type of ballot and election machines used.

                         Much of Indiana uses paper ballot with automated machines, but some counties do use electronic
                         ballots. Voting systems in Indiana include paper ballot, optical scan ballot card, and direct record
                         electronic/touch screen ballots. Check to see what equipment will be at your poll.

                         Indiana Election Code
                         IC 3-5-2-2 “Automatic tabulating machine” Sec. 2. “Automatic tabulating machine” means:
                         (1) apparatus necessary to automatically examine and count votes as designated on ballots; and (2) data
                         processing machines that can be used for counting ballots and tabulating results. As added by “Ballot
                         card voting system” Sec. 4.5. “Ballot card voting system” refers to an optical scan voting system. As
                         added by P.L.239-2001, SEC.2. Amended by P.L.221-2005, SEC.3. IC 3-5-2-21 “Electronic voting
                         system” Sec. 21. “Electronic voting system” means a system in which: (1) voters record their votes by
                         activating touch-sensitive marking devices; and (2) votes are counted by automatic tabulating As added
                         by P.L.5-1986, SEC.1. Amended by P.L.6-1986, SEC.2; P.L.3-1987, SEC.5. C 3-5-2-5 “Voting method”
                         Sec. 52. “Voting method” means the use of: (1) paper ballots;2) ballot card voting systems; (3) electronic
                         voting systems; or (4) any combination of these;to register votes in a precinct. As added by P.L.3-1987,
                         SEC.11. Amended by P.L.221-2005, SEC.7.




                      Arrival at Poll
                      Plan to arrive at the poll location at least one hour prior to the opening of the poll to voters. Upon arrival,
                      introduce yourself to the Poll Supervisor and provide identification, including a Certificate of Appointment
                      when required. Ask the Poll Supervisor what their policy is on cell phones and follow that policy while in
                      the poll. Ask the Poll Supervisor where you should stand or sit. Remember that the election law allows
                      the Election Observer to be able to see all voting activities. From where you are placed, you should be
                      able to observe the voter check-in qualification process including the use of a poll book or electronic
                      voter roll. If you are prevented from viewing all aspects of the voting process or prevented from serving
                      at all, you should show the Poll Supervisor the legal reference on your Election Observer Quick Reference
                      Guide. If the Poll Supervisor continues to not let you serve, ask them to document the reason for denying
                      your service on the back of your Appointment Certificate, then step outside the poll, but within the non-
                      electioneering zone, and call your Team Captain to report that your service has been refused. Do not leave
                      the poll or step outside the non-electioneering zone. Follow the instructions from your Team Captain

                      Election workers are to present credentials in case they are asked to be presented by an precinct board
                      member. Credentials are provided by nominating party and should be signed by the chairman of the
                      county election board, county chairman of the party, or chairman of the committee of the independent
                      candidate represented..




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                   Arrival at Poll (continued)
                   Indiana Election Code
                   IC 3-6-8-3 Identification card Sec. 3. (a) A watcher present at the polls must possess an identification
                   card issued under this section and present the card if demanded by a member of the precinct election
                   board. (b) The county election board, county chairman, or chairman of the committee of the independent
                   candidate for a federal or a state office:(1) must appoint each watcher in writing; and (2) shall issue one
                   (1) watcher identification card for each person appointed as a watcher. (c) The identification card must
                   be signed by the chairman of the county election board, county chairman of the party, or chairman of the
                   committee of the independent candidate for a federal or a state office that the watcher represents. (d)
                   The identification card described in subsection (a) must clearly state the following: (1) The status of the
                   individual as an appointed watcher. (2) The name of the individual serving as a watcher. (3) The name of
                   the person who appointed the individual as a watcher. (4) If the individual has been appointed as a watcher
                   by a political party, the name of the political party.




                     Notes




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                        Election Observer Rules and Privileges
                        Things an Election Observer May Do:
                        • May observe all aspects of the election voting process.
                        • May be present to observe every step of the ballot handling.
                        • May be present anytime the poll location is unlocked, including during set up and close down of the poll.
                        • May follow the ballots during transit between poll location and central count facility, if applicable.
                        • May be present during the ballot count.
                        • Must serve for a minimum number of hours before leaving and returning to the poll location.
                        • May be present to observe same day voter registration processes at the polls.

                        Things an Election Observer May Not Do:
                        • Talk with voters.
                        • Communicate in any way with voters.
                        • Use a recording device inside the polls.
                        • Use a cell phone inside the polls.
                        • Be partisan in any way.
                        • Wear a name tag (not allowed in most states).
                        • Reveal any information about the vote count or ongoing business in the polls.
                        • Observe the ballot of a voter.


                        Watchers may not interfere with election procedures or talk to anyone during the election process.
                        Watchers also may not handle any of the election equipment. Watchers may come and go as they
                        please and may arrive 30 minutes before polls open to observe the opening procedures. Watchers may
                        accompany inspectors in returning reports to the county clerk and be present for the vote tally. Watchers
                        may inspect election materials and the election process carried out by the precinct election board and if
                        an incident occurs, they may ask for assistance by the election sheriff.

                        Indiana Election Code
                        IC 3-6-10-5
                        Watcher identification card; powers; photographing proceedings; photographing voters Sec. 5. (a)
                        Each person who acts as a watcher under this chapter must obtain a watcher identification card from
                        the county election board. The identification card issued under this subsection must clearly state the
                        following: (1) The status of the individual as an appointed watcher. (2) The name of the individual
                        serving as a watcher. (3) The name of the person that appointed the individual as a watcher.
                        (b) Watchers appointed under this chapter do not have a voice or vote in any proceeding of a precinct
                        election board. The watchers may attend the election as witnesses only and are subject to the orders
                        of the board. (c) Except as provided in subsection (d), a watcher appointed under this chapter may
                        photograph the proceedings of a precinct election board. (d) A watcher appointed under this chapter
                        may not photograph a voter: (1) while the voter is in the polls if the voter informs the precinct election
                        board that the voter objects to being photographed by the watcher; or (2) in a manner that permits the
                        watcher to see or know for what ticket, candidates, or public questions the voter has voted.

                        As added by P.L.5-1986, SEC.2. Amended by P.L.3-1987, SEC.45; P.L.7-1990, SEC.5; P.L.4-1996,
                        election sheriffs to make arrests.




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                     Election Observer Rules and Privileges (continued)
                     IC 3-6-8-4 Powers and duties Sec. 4. A watcher appointed under this chapter is entitled to: (1) enter the
                     polls at least thirty (30) minutes before the opening of the polls and remain there throughout election
                     day until all tabulations have been completed; (2) inspect the paper ballot boxes, ballot card voting
                     system, or electronic voting system before votes have been cast; (3) inspect the work being done by any
                     precinct election officer; (4) enter, leave, and reenter the polls at any time on election day; (5) witness
                     the calling and recording of the votes and any other proceedings of the precinct election officers in
                     the performance of official duties; (6) receive a summary of the vote prepared under IC 3-12-2-15,
                     IC 3-12-3-2, IC 3-12-3-11, or IC 3-12-3.5-3, signed by the precinct election board, providing: (A) the
                     names of all candidates of the political party whose primary election is being observed by the watcher
                     and the number of votes cast for each candidate; (B) the names of all candidates at a general, municipal,
                     or special election and the number of votes cast for each candidate; or (C) the vote cast for or against a
                     public question; (7) accompany the inspector and judge in delivering the tabulation and election returns
                     to the county election board by the most direct route; (8) be present when the inspector takes a receipt
                     for the tabulation and election returns delivered to the county election board; and (9) call upon the
                     As added by P.L.5-1986, SEC.2. Amended by P.L.3-1987, SEC.38; P.L.3-1993, SEC.26; P.L.3-1997,
                     SEC.48; P.L.221-2005, SEC.11.



                     http://www.in.gov/sos/elections/files/2012_Election_Day_Handbook_12.5.11.pdf




                     Infractions
                     If an Election Observer should witness an infraction of the election law, the Observer should immediately
                     notify the Poll Supervisor, as the intent is to prevent an illegal action from occurring. Document all
                     aspects of the event witnessed, including the actions taken by the Poll Supervisor. If the Poll Supervisor
                     does not immediately resolve the problem and stop or prevent the violation from occurring, tell the Poll
                     Supervisor that you have a duty to report the event if it is not resolved. If the Poll Supervisor still does
                     not immediately correct the situation, exit the polling location, but stay within the non-electioneering
                     zone and contact your Team Captain via the hotline telephone number. Report the situation to the Team
                     Captain then return quickly to the poll to continue observing and documenting election activities.


                     Watchers are to document ant violation they observe and report it to their county grand jury or a
                     prosecuting attorney.

                     Indiana Election Code
                     IC 3-6-8-6 Report of violations
                      Sec. 6. A watcher appointed under this chapter shall report any violation of the election laws that comes
                     to the watcher’s attention to the county grand jury or prosecuting attorney.




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                        Conflict Resolution
                        In a conflict or confrontational situation, remember to follow these guidelines:
                        • Do not talk to whomever is causing the problem, unless it is the Poll Supervisor; doing so places you
                          at risk of being removed from the poll!
                        • Do not engage in or return the confrontation. Remain professional and courteous.
                        • Calmly walk to the Poll Supervisor, and inform them of the situation, ask them to resolve it.
                        • Document the situation.
                        • If the confrontation continues, repeat your request.
                        • If the Poll Supervisor does not immediately handle the situation and stop the confrontation, contact
                          your Team Captain.
                        • It is a good idea to contact your Team Captain about confrontational events in case you are witnessing
                          or experiencing a situation that may occur in other locations. Your Team Captain will take care of any
                          further notifications needed.
                        • Remember that your goal is observe and document, and do nothing that causes you to be removed
                          from the poll.


                        PROFESSIONAL CONDUCT & CONFLICT RESOLUTION: *Remember – your PRIMARY MISSION is
                        observation and documentation, *Be professional in speech and body language, *Tone of voice says
                        more than words chosen, *Avoid being dismissed as disruptive, *Know your reference materials,
                        highlight important items, *Ask Presiding Judge to deal with hostile persons, *In dealing with errors by
                        Presiding Judge or other Election Workers, politely point out correct action from reference materials,
                        -If not corrected, document and call hotline.                                                                I’ll see
                                                                                                                                     you at
                                                                                                                                   the polls!


                        Notes




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                     Who’s in the Polls?
                     The first thing we suggest you do as an Election Observer is get to know the Election Workers and
                     other Observers you’ll be spending the day with. Introduce yourself to everyone you will be working
                     with, including Supervisors, Clerks, and other Election Observers, and write down their names in your
                     notebook.



                     Opening Evaluation
                     Note the set up of poll at opening. Include whether all required notices are properly posted and all
                     proper areas, such as the non-electioneering zone are correctly marked. Determine the location of
                     all documents used in the voting process and that they are readily available. Make a special note
                     of anything you cannot locate, or that is not being used, and bring this to the attention of the Poll
                     Supervisor.


                     Officer table- Poll lists, voter registration lists, certificates, affidavits, Electronic poll lists may also be
                     used. Poll clerks will initial each ballot at opening. The election board shall sign a certificate of opening.
                     Other-Instruction cards shall be posted around the polls and the outer end of the chute. Sample ballots
                     shall be placed around the polls. Poll clerks will records a record of the announcement of the polls
                     opening on the tally sheets.

                     Indiana Election Code
                     As added by P.L.5-1986, SEC.7.
                     IC 3-11-8-10.3 Electronic poll list; requirements. Sec. 10.3. (a) As used in this section, “electronic
                     poll list” refers to a poll list that is maintained in a computer data base. (b) An electronic poll list must
                     satisfy all of the following: (1) An electronic poll list must be programmed so that the coordinated action
                     of two (2) election officers who are not members of the same political party is necessary to access the
                     electronic poll list. (2) An electronic poll list may not be connected to a voting system. (3) An electronic
                     poll list may not permit access to voter information other than information provided on the certified list of
                     voters prepared under IC 3-7-29-1. As added by P.L.1-2011, SEC.2. IC 3-11-11-4 Initial of poll clerk
                     on each ballot. Sec. 4. Upon receipt of the ballots and pen under section 3 of this chapter, the poll clerks
                     or assistant poll clerks immediately shall place their initials in ink on the back of each ballot. The initials
                     must be in the clerks’ ordinary handwriting or printing and without a distinguishing mark of any kind. As
                     added by P.L.5-1986, SEC.7. Amended by P.L.3-1987, SEC.276; P.L.3-1993, SEC.157. IC 3-11-14-17
                     Preparation at polls before opening; system check; certification. Sec. 17. (a) Before the opening of the
                     polls, each precinct election board shall: (1) compare the ballot label on each electronic voting system
                     with the sample ballot to see that it is correct; (2) see that the system records zero (0) votes for each
                     candidate and on each public question; and(3) see that the system is otherwise in perfect order. (b) After
                     the system is in perfect order for voting, the precinct election board may not permit the counters to be
                     operated except by voters in voting. The board then shall certify that the ballot labels and the sample
                     ballots are in agreement. Forms shall be provided for certification, and the certification shall be filed with
                     the election returns. As added by P.L.3-1987, SEC.327.




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                        Equipment Usage
                        Note that all provided voting equipment is present and being used. There is typically an inventory sheet or
                        report of all voting equipment delivered to the polling location. Notify the Poll Supervisor and your Team
                        Captain immediately if any item is missing or not being used. It is likely that the poll cannot be opened
                        unless all equipment is present and being properly used. Note the location of the seals that must be used
                        on the equipment at closing. Document this location for use later in the day.

                        Paper Ballot and Ballot Card Voting System- Ballot box with at lead two different locks. If pure paper
                        ballot, pens will be provided for marking ballot. If BCVS marking devices and demonstration marking
                        devices will be provided by the county election board.
                        Electronic Voting Systems- Ballot labels which will be placed on each voting system after systems are
                        checked by the precinct board

                        Indiana Election Code
                        IC 3-11-3-16 Poll lists; voter registration lists; preparation; delivery to inspectors Sec. 16. Each county
                        election board shall prepare and have delivered to the inspectors of the precincts, at the time they
                        receive the ballots for their precincts, a suitable number of voter registration lists certified under IC
                        3-7-29 and any other forms, papers, certificates, and oaths that are required to be furnished to precinct
                        election boards. The forms and papers must be prepared in compliance with IC 3-5-4-8. The county
                        voter registration office shall cooperate with the county election board in the preparation of the lists
                        certified under IC 3-7-29. As added by P.L.5-1986, SEC.7. Amended by P.L.209-2003, SEC.106;
                        P.L.164-2006, SEC.90. IC 3-11-3-24 Instruction cards; posting Sec. 24. The inspector of each precinct
                        shall have the cards required by section 22 of this chapter posted as follows: (1) One (1) of each card
                        in each place or compartment provided for the preparation of ballots. (2) One (1) of each card at or
                        close to the outer end of the chute. 3) At least three (3) of each card in and about the polls. As added
                        by P.L.5-1986, SEC.7. Amended by P.L.69-2003, SEC.3. IC 3-11-3-25 Sample ballots; posting Sec.
                        25. As required by 42 U.S.C. 15482, the inspector of each precinct shall post the samples of each of
                        the state and local ballots provided by the county election board under this article in and about the polls.
                        The sample ballots shall be printed on different paper than the genuine ballots. As added by P.L.5-1986,
                        SEC.7. Amended by P.L.10-1988, SEC.102; P.L.209-2003, SEC.111. IC 3-11-8-7 Preparation of polls
                        for election Sec. 7. In preparing the polls for an election, the county executive shall: (1) have placed
                        within the room a railing separating the part of the room to be occupied by the precinct election board
                        from that part of the room to be occupied by the ballot card voting systems, electronic voting systems,
                        and the three (3) or more booths or compartments for marking paper ballots, whenever either or two
                        (2) of these voting systems are used; (2) ensure that the portion of the room set apart for the precinct
                        election board includes a door at which each voter appears for challenge; and (3) provide a method
                        or material for designating the boundaries of the chute, such as a railing, rope, or wire on each side,
                        beginning a distance equal to the length of the chute as defined in IC 3-5-2-10 away from and leading
                        to the door for challenge and to the room in which the election is held. As added by P.L.5-1986, SEC.7.
                        Amended by P.L.3-1987, SEC.253; P.L.69-2003, SEC.4; P.L.221-2005, SEC.65. IC 3-11-8-10 Precinct
                        record to be made by poll clerks; contents Sec. 10. The poll clerks of each precinct shall make a record
                        of: (1) the inspector’s proclamation of the closing of the polls; and(2) the time the proclamation was
                        made. The poll clerks shall enter the record required by this section on the tally papers. After the record
                        has been made no more voters may vote except as provided in section 11 of this chapter. IC 3-11-3-
                        33 Provision of ballot box Sec. 33. Whenever a general election is held, the county election board
                        shall provide a ballot box for each precinct. As added by P.L.5-1986, SEC.7. Amended by P.L.3-1987,
                        SEC.221. IC 3-11-3-34 Ballot boxes; specificationsSec. 34. Each ballot box provided under section
                        33 of this chapter must:


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                     Equipment Usage (continued)
                     (1) have an opening in the lid sufficient only for a single ballot; (2) have at least two (2) locks of different
                     kinds and combinations, so that one (1) key will not unlock the other; and (3) be constructed to prevent
                     fraud.As added by P.L.5-1986, SEC.7. Amended by P.L.3-1987, SEC.222. IC 3-11-11-3 Opening
                     package of ballots; delivery of ballots and writing instrument Sec. 3. At the opening of the polls, after
                     the organization of and in the presence of the precinct election board, the inspector shall:(1) open the
                     packages of ballots in a manner that preserves the seals intact; (2) deliver twenty-five (25) of each of the
                     state and local ballots to the poll clerk of the opposite political party; and (3) deliver to the other poll clerk
                     a pen for marking the ballots. As added by P.L.5-1986, SEC.7. Amended by P.L.5-1989, SEC.59; P.L.3-
                     1993, SEC.156. IC 3-11-11-6 Delivery of ballots and writing instrument to voter; explanations
                     Sec. 6. (a) After a voter has signed the poll list, one (1) of the poll clerks or assistant poll clerks shall deliver
                     to the voter one (1) of each ballot that the voter is entitled to vote at the election and one (1) pencil or pen.
                     Both judges, on request, shall give an explanation ofthe voting method. If necessary, a precinct election
                     officer shall assist a voter in determining if the proper initials appear on a ballot. (b) As provided by 42
                     U.S.C. 15481, when a voter receives a paper ballot under this section, the board must also provide the
                     voter with:(1) information concerning the effect of casting multiple votes for an office; and(2) instructions
                     on how to correct the ballot before the ballot is cast and counted, including the issuance of replacement
                     ballots.As added by P.L.5-1986, SEC.7. Amended by P.L.3-1987, SEC.278; P.L.5-1989, SEC.60; P.L.3-
                     1993, SEC.158; P.L.209-2003, SEC.151; P.L.164-2006, SEC.111.IC 3-11-13-6 Marking devices;
                     preparation; time of system delivery to polls Sec. 6. (a) Before an election at which a ballot
                     card voting system is used, a county election board shall: (1) have the marking devices prepared for
                     the election; (2) have the marking devices put in order, set and adjusted, and made ready for voting
                     when delivered to the precincts; and (3) provide the precinct election officers with marking devices, a
                     demonstration marking device, ballot cards, ballot boxes, ballot labels, and other records and supplies as
                     required. (b) While acting under subsection (a), the county election board may restrict access to parts of
                     the room where marking devices and other election material are being handled to safeguard this material.
                     (c) Each county election board shall have each ballot card voting system, along with all necessary furniture
                     and appliances that go with the system at the polls, delivered to the appropriate precinct not later than 6
                     p.m. of the day before election day. The county executive shall provide transportation for the systems if
                     requested to do so by the county election board.As added by P.L.5-1986, SEC.7. Amended by P.L.3-1987,
                     SEC.306; P.L.3-1997, SEC.320; P.L.176-1999, SEC.79; P.L.239-2001, SEC.9; P.L.221-2005, SEC.76.
                     Ballot labels; installationSec. 10. Each county election board shall, before election day, have the proper
                     ballot labels prepared as required by section 3.5 of this chapter and put on each electronic voting system.
                     As added by P.L.3-1987, SEC.327. Amended by P.L.3-1993, SEC.173; P.L.58-2005, SEC.23. IC 3-11-
                     14-15 Examination of system and sample ballots upon deliverySec. 15. (a) After the delivery of an
                     electronic voting system to a precinct, the precinct election board may meet at the polls on the same day,
                     open the package containing the sample ballots, and, if necessary, examine the ballot label, to determine
                     whether the system is ready for use in accordance with section 11 of this chapter. If a system is not in
                     compliance with that section, the board shall immediately label, set and adjust, and place the system in
                     order or have it done.(b) While acting under subsection (a), the precinct election board may restrict access
                     to parts of the room where voting systems and other election material are being handled to safeguard
                     this material. As added by P.L.3-1987, SEC.327. Amended by P.L.3-1997, SEC.331. IC 3-11-14-17
                     reparation at polls before opening; system check; certification Sec. 17. (a) Before the opening of
                     the polls, each precinct election board shall:1) compare the ballot label on each electronic voting system
                     with the sample ballot to see that it is correct; 2) see that the system records zero (0) votes for each
                     candidate and on each public question; and (3) see that the system is otherwise in perfect order.(b) After
                     the system is in perfect order for voting, the precinct election board may not permit the counters to be
                     operated except by voters in voting.



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                        Opening Procedures
                        Confirm that all electronic voting machines have a zero count (a paper printout that confirms no votes
                        have been cast) before the polls open and that all paper ballot collect boxes are empty. Document
                        this verification.

                        Watchers may enter the polls at least 30 minutes before polls open to inspect election materials and the
                        work done by other election officers.


                         Indiana Election Code
                         IC 3-11-11-2 Voting preparations; ballot box Sec. 2. (a) On the morning of election day, the precinct
                         election officers shall meet at the polls at least one (1) hour before the time for opening the polls.
                         The inspector then shall have: (1) the boundaries of the chute designated; (2) the sample ballots and
                         instruction cards posted; and (3) everything put in readiness for the commencement of voting at the
                         opening of the polls. (b) At the opening of the polls, the inspector and judges shall see that there are
                         no ballots in the ballot box before the voting begins. After the inspection of the box, the inspector shall
                         (1) securely lock the box; (2) give one (1) key to the judge of the opposite political party; and (3) retain
                         one (1) key. (c) Once securely locked, the ballot box may not be opened again until after the polls have
                         been closed and the precinct election board is ready to immediately proceed with the counting, except
                         as otherwise provided for central counting. (d) The voting booths or compartments must be of a size and
                         design to permit a voter to mark ballots in secret. IC 3-6-8-4 Powers and duties Sec. 4. A watcher
                         appointed under this chapter is entitled to: (1) enter the polls at least thirty (30) minutes before the
                         opening of the polls and remain there throughout election day until all tabulations have been completed;
                         (2) inspect the paper ballot boxes, ballot card voting system, or electronic voting system before votes
                         have been cast; (3) inspect the work being done by any precinct election officer; (4) enter, leave, and
                         reenter the polls at any time on election day; (5) witness the calling and recording of the votes and any
                         other proceedings of the precinct election officers in the performance of official duties; (6) receive a
                         summary of the vote prepared under IC 3-12-2-15, IC 3-12-3-2, IC 3-12-3-11, or IC 3-12-3.5-3,
                         signed by the precinct election board, providing: (A) the names of all candidates of the political
                         party whose primary election is being observed by the watcher and the number of votes cast for each
                         candidate; (B) the names of all candidates at a general, municipal, or special election and the number
                         of votes cast for each candidate; or (C) the vote cast for or against a public question; (7) accompany
                         the inspector and judge in delivering the tabulation and election returns to the county election board by
                         the most direct route; (8) be present when the inspector takes a receipt for the tabulation and election
                         returns delivered to the county election board; and (9) call upon the election sheriffs to make arrests.
                         IC 3-6-7-5 Right to enter and leave polls Sec. 5. (a) A pollbook holder or a challenger appointed
                         under this chapter is entitled to do the following: (1) Enter the polls at least thirty (30) minutes before the
                         opening of the polls and remain there throughout election day until the polls close. (2) Enter, leave, and
                         reenter the polls at any time on election day. (b) A pollbook holder or a challenger is subject to the orders
                         of the board while in the polls. (c) If demanded by a member of the precinct election board, a pollbook
                         holder or a challenger shall produce the identification card issued under section 1(d) of this chapter.
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